Case 1:16-cv-05077-LDH-VMS Document 5 Filed 10/14/16 Page 1 of 1 PageID #: 23




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

BAROUK MALEH, on behalf of himself and all               Docket No: 1:16-cv-05077-LDH-VMS
others similarly situated,
                                                             NOTICE OF SETTLEMENT
                           Plaintiffs,

                    -against-

ALLTRAN FINANCIAL, LP
                          Defendant.

Now comes the Plaintiff BAROUK MALEH by and through counsel, to provide notice to the Court

that the present cause has been settled between the parties, and state:

    1. A settlement agreement (“Agreement”) is in the process of being finalized. Once the

         Agreement is fully executed, and Plaintiffs have received the consideration required pursuant

         to the Agreement, the parties will submit a Stipulation of Dismissal with prejudice pursuant

         to Federal Rule of Civil Procedure 41(a)(1)(A)(ii) and will therein request that the case be

         dismissed and closed.

    2. The parties respectfully request that the Court stays this case and adjourns all deadlines and

         conferences.

    3. We respectfully request the Court provide that the parties may seek to reopen the matter for

         forty-five (45) days to assure that the Agreement is executed and that the settlement funds

         have cleared.

                                                        Respectfully submitted,
                                                        By:__/s/ Alan J. Sasson_______
                                                        Alan J. Sasson, Esq. (AS 8452)
                                                        Law Office of Alan J. Sasson, P.C.
                                                        2687 Coney Island Avenue, 2nd Floor
                                                        Brooklyn, New York 11235
                                                        Phone:     (718) 339-0856
                                                        Facsimile: (347) 244-7178
                                                        Attorney for Plaintiff
Dated:    Brooklyn, New York
          October 14, 2016


                                                    1
